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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                 Honorable Marcia S. Krieger

 Criminal Action No. 12-cr-00010-MSK

 UNITED STATES OF AMERICA,

               Plaintiff,

 v.

 1.     GEORGE H. ASKEW,
 2.     ROMELL E. BULLOCK,
 3.     GREGORY A. COLLINS,
 4.     GEORGE A. GADDY,
 5.     DELBERT J. GARDNER,
 6.     RICHARD JOHNSON,
 7.     SHEPS H. KHAMSAHU,
 8.     ERIC LUGO,
 9.     LAWRENCE T. MARTIN,
 10.    JOHNIE A. MYERS,
 11.    DARELL R. PARKER,
 12.    CALVIN R. RILEY,
 13.    COREY L. RILEY,
 14.    THOMAS A. SCHRAH, JR.,
 15.    JAMES R. SWITZER, and
 16.    CLIFFORD M. WRIGHT,

               Defendants.


                   ORDER DISMISSING REMAINING CHARGES
                  AS TO DEFENDANT JAMES R. SWITZER ONLY
 ______________________________________________________________________________

        THIS MATTER comes before the Court on the Government’s Rule 48 Motion to Dismiss

 Remaining Charges as to Defendant James r. Switzer Only (Motion) (#722) filed October 29,

 2012. Having reviewed the Motion, the Court FINDS that:

        1.     Defendant James R. Switzer entered a guilty plea to Count Twenty-Eight of the

               Indictment as part of a plea agreement on file in United States District Court for
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                the District of Colorado, Case Number 12-cr-00010-MSK-15 (DOC 445).

        2.      Judgment of Conviction has entered as to Count Twenty-Eight.

 Accordingly,

        IT IS ORDERED that the Motion is GRANTED and the First Superseding Indictment

 (DOC 180), and Count Thirty-Two of the January 9, 2012, Indictment (DOC 1), in the above

 captioned case, as to defendant James R. Switzer, only, are hereby dismissed.

        DATED this 1st day of November, 2012.

                                                     BY THE COURT:




                                                     Marcia S. Krieger
                                                     United States District Judge
